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                     EXHIBIT 28
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From:               Hunter, Marvalette - MYR
Sent:               Thursday, August 12, 2021 1:50 PM CDT
To:                 Icken, Andy - MYR
CC:                 Koski, James - MYR; Eichenbaum, Marc - HCD
Subject:            Re: Potential feeding options


Noted.
Thank you,
Marvalette Hunter
Mayor’s Chief of Staff
(832) 393-1050 Office
(281) 714-8327 Cell
From: Icken, Andy - MYR <Andy.Icken@houstontx.gov>
Sent: Thursday, August 12, 2021 8:44:10 AM
To: Hunter, Marvalette - MYR <Marvalette.Hunter@houstontx.gov>
Cc: Koski, James - MYR <James.Koski@houstontx.gov>; Eichenbaum, Marc - HCD
<Marc.Eichenbaum@houstontx.gov>
Subject: Re: Potential feeding options

Marvallette
Filling you in on meeting yesterday with mayor, Rhea and Troy. Mayor pushed hard on the St
John’s option. We share your concerns on the area with the McDonalds and underpasses at
Fannin and san jac being persistent problems and frankly often HPD call outs. That said we
promised the mayor we would look at it.
The conversation shifted to muni courts and like you the mayor expressed some support to
include putting up a shade structure to make it more appealing to FNB. Our comment on ‘out of
sight’ will be the push back from FNB - which we will need to deal with.
Lastly the Heritage Center site came after the meeting with the mayor. It does have the virtue of
a larger site and generally less conflict with city working facilities. ( mayor had pushed hard on
finding all available options not connected to library, city hall,611 and tranquility).
When you are back we can talk more specifically.

Sent from my iPhone


    On Aug 12, 2021, at 7:25 AM, Hunter, Marvalette - MYR
    <Marvalette.Hunter@houstontx.gov> wrote:



    My recommendation is the Municipal Courthouse area (#2). It has already been assessed and
    is functionally appropriate. Being out of sight should not be a determinate of an appropriate
    location.
    The St. John location would bring added issues/concerns.
    Thank you,
    Marvalette Hunter
    Mayor’s Chief of Staff




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 (832) 393-1050 Office
 (281) 714-8327 Cell
 From: Icken, Andy - MYR <Andy.Icken@houstontx.gov>
 Sent: Wednesday, August 11, 2021 10:15:25 PM
 To: Sylvester Turner - MYR <Mayor.ST@houstontx.gov>; Hunter, Marvalette - MYR
 <Marvalette.Hunter@houstontx.gov>
 Cc: Eichenbaum, Marc - HCD <Marc.Eichenbaum@houstontx.gov>; Koski, James - MYR
 <James.Koski@houstontx.gov>
 Subject: Fwd: Potential feeding options

 Mayor
 After our call this afternoon, James, Marc and I got together to be sure we focused on possible
 feeding sites that met the criteria we discussed. We plan on focusing on three different sites
 that potentially meet the needs:
 1- St John’s/Pastor Rudy facilities in the southeast quadrant of the CBD- just south of the
 Pierce elevated.
 2- municipal court house area. In the first map below there is a triangular area shaded area
 bounded by Lubbock, Reisner and Artesian. It is a small parking lot and has several trees. The
 challenge will be the perception it is ‘out of sight’ but if this is acceptable we are prepared to
 assess exactly what else is needed to make it workable.
 3- heritage parking lot behind the Kelling Noble house. It is shown in the second photo below
 and labeled as the Heritage Society Parking. This is city property and the parking lot is quite
 large , accessible and likely we could create a specific area that is separated from others in
 the vicinity. There will also be a ‘out of sight’ challenge here.
 If you agree these three should all be fully examined I’ll contact Chief Finner to be sure we
 have his support. After that we will immediately assess what is needed at each site.
 After that we will assess the best means of approaching Food Not Bombs(FNB) making it
 clear that the site on Lamar next to the Central Library is no longer available.
 Sent from my iPad

 Begin forwarded message:


    From: "Koski, James - MYR" <James.Koski@houstontx.gov>
    Date: August 11, 2021 at 4:11:44 PM CDT
    To: "Icken, Andy - MYR" <Andy.Icken@houstontx.gov>, "Eichenbaum, Marc - HCD"
    <Marc.Eichenbaum@houstontx.gov>
    Cc: "Messiah, C. J. - GSD" <cjmessiah@houstontx.gov>, "Koski, James - MYR"
    <James.Koski@houstontx.gov>
    Subject: Potential feeding options




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     Catholic Church




    James Koski
    Deputy Chief of Staff
    Office of Mayor Sylvester Turner
    832.393.0833, james.koski@houstontx.gov




                                                    Y
                                                            BakerFamilyPlayhouse




                                                   P




                                                                                                   ©)




                                                                                      Heritage Clay,
                                                                            P
                                                                         1200 Bagby   Parking




                                                                                                        COH-084928
